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                      UNITED STATES DISTRICT COURT
                    DISTRICT OF NORTHERN CALIFORNIA
                         SAN FRANCISCO DIVISION




UNITED STATES OF AMERICA,


            Plaintiff,                         No. CR 06-0266 CRB


      v.                                       STIPULATION AND [PROPOSED]
                                               ORDER TO CONTINUE PRETRIAL
                                               MOTIONS SCHEDULE
JOSEPH WILSON, et al.,


            Defendants.


                                           /

      THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that the

previously set motions briefing and hearing schedule be

continued as follows:       (1) Defendants’ pretrial motions related

to discovery issues relevant to a Franks’ attack on the wiretaps

filing date be extended from September 18, 2006 to November 13,

2006; (2) Government’s responses to said motions filing date be

extended from September 25, 2006 to November 20, 2006; and,

(3) Motions’ hearing date be continued from October 4, 2006 to

November 29, 2006 at 2:15 p.m.         The reasons for this requested


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continuance are presented in the accompanying declaration of

counsel.

Dated: September 21, 2006


/S/JAMES BUSTAMANTE                          /S/ZENIA K. GILG
JAMES BUSTAMANTE                             ZENIA K. GILG
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/S/RICHARD B. MAZER                          /S/JOHN RUNFOLA
RICHARD B. MAZER                             JOHN RUNFOLA
Attorney for Defendant                       Attorney for Defendant
THOMAS F. MCKENZIE                           ANTHONY LAMBOY


/S/RANDOLPH E. DAAR                          /S/DOUGLAS I. HORNGRAD
RANDOLPH E. DAAR                             DOUGLAS I. HORNGRAD
Attorney for Defendant                       Attorney for Defendant
ELIZABETH EVANS                              MARIA TURNEY


/S/STEVE EMERY TEICH                         /S/JESSE J. GARCIA
STEVE EMERY TEICH                            JESSE J. GARCIA
Attorney for Defendant                       Attorney for Defendant
JASON D. THOMAS                              BAO VAN PHUNG


/S/ANTHONY JOHN BRASS                        /S/GEORGE CLAUDE BOISSEAU
ANTHONY JOHN BRASS                           GEORGE CLAUDE BOISSEAU
Attorney for Defendant                       Attorney for Defendant
RAYMOND FOAKES                               MICHAEL VARGAS

/S/JOHN REX DUREE, JR.                       /S/DAVID HALL
JOHN REX DUREE, JR.                          DAVID HALL
Attorney for Defendant                       Assistant U.S. Attorney
DEVON WILLIAMS



                                                         ISTRIC
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            IT IS SO ORDERED.
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            Dated: September 28, 2006             TA
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                                             CHARLES R. BREYER
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                                             U.S. District Court Judge
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